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AZD PS 40 (AZD Rev. 10/12) Notice Regarding United States Passport for Criminal Defendant

UNITED STATES DISTRICT COURT
for the
District of Arizona

NOTICE REGARDING UNITED STATES PASSPORT FOR CRIMINAL DEFENDANT

TO: Office of Legal Affairs, Passport Services FROM: United States Pretrial Services

U.S. Department of State Sandra Day O’Connor Courthouse, Suite 260
CA/PPT/L/LA 401 W. Washington Street, SPC 8
44132 Mercure Circle #1227 Phoenix, Arizona 85003-2119
Sterling, VA 20166-1227 (602) 322-7350
Fax: (602) 322-7380
Original Notice

Date: April 16, 2018
By: JML
Defendant: Michael Lacey Case Number: 0970 2:18CR00422
Date of Birth: Ww, Place of Birth: Binghamton, New York
SSN: __

Notice of Court Order (Order Date: April 13, 2018)

The above-named defendant is not permitted to apply for the issuance of a passport and/or passport card
during the pendency of this action.

fj The above-named defendant surrendered Passport number . ‘to the custody of the U.S. Pretrial
Services on April 16, 2018.
NOTICE OF DISPOSITION

The above case has been disposed of.

C) The above order of the court is no longer in effect.

Defendant not convicted — Document returned to defendant.

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(1 =Defendant not convicted - Document enclosed for further investigation due to evidence that
the document may have been issued in a false name.

C

Defendant convicted - Document and copy of judgment enclosed.

Distribution:

Original to case file
Department of State
Defendant (or representative)
Clerk of Court
